              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 2:12-cr-00025-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
     vs.                         )                     ORDER
                                 )
JASON STAMEY.                    )
________________________________ )

      THIS MATTER is before the Court pursuant to 18 United States Code

§ 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

      The Defendant has filed a pro se motion for a reduction of his sentence.

[Doc. 94].   The Probation Office has submitted a supplement to the

Defendant’s Presentence Report (“PSR”) in this matter. [Doc. 105]. Based

thereon, the Court determines that the United States Attorney and the

Federal Defenders of WNC, Inc., should provide the Court with their

respective positions regarding the PSR supplement.

      IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

the entry of this Order, the United States Attorney and the Federal Defenders

of WNC, Inc., shall file pleadings responsive to the Probation Officer’s PSR

supplement filed in this matter.

      IT IS SIT IS SO ORDERED.                                Signed: May 18, 2015




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